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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
----------------------------------------------------------------------- x
LUIS ZENON,
                                                             Plaintiff,

                              -against-

PATRICK D. DOWNEY, Correction Officer; ANTHONY                              MEMORANDUM OF LAW
J. ANNUCCI, Acting Commissioner of the Department of                        IN OPPOSITION TO
Corrections and Community Supervision; JOSEPH                               DEFENDANTS’ MOTION TO
BELLNIER, Deputy Commissioner, Correctional Facility                        DISMISS
Operations; STEVEN RACETTE, Superintendent of
Clinton Correctional Facility; DONALD QUINN, First
Deputy Superintendent of Clinton Correctional Facility;                     18-cv-458-LEK-ATB
STEPHEN BROWN, Deputy Superintendent for Security
of Clinton Correctional Facility; CHRISTOPHER
MILLER, Superintendent of Great Meadow Correctional
Facility; MATTHEW THOMS, First Deputy
Superintendent of Great Meadow Correctional Facility;
RODNEY EASTMAN, Deputy Superintendent for Security
Great Meadow Correctional Facility; FRANCIS
SCARLOTTA, Seargeant Great Meadow Correctional
Facility; JOHN DOE Supervisor in Charge of the
Segregated Housing Unit at Great Meadow Correctional
Facility; JOHN DOE Decisionmaker to Place Clinton
Inmates in Great Meadow SHU; JOHN DOE Supervisors at
Clinton and Great Meadow Correctional Facilities ##1-25;
JOHN DOE State Troopers ##1-10; JOHN DOE Correction
Officers at Clinton and Great Meadow Correctional
Facilities ##1-50,

                                                          Defendants.
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                                              POINT I

    PLAINTIFF STATES A FOURTEENTH AMENDMENT PROCEDRUAL DUE
  PROCESS CLAIM BECAUSE HE WAS SUBJECTED TO PUNITIVE CONDITIONS
           ATYPICAL TO PRISON LIFE WITHOUT DUE PROCESS


       “[T]o present a due process claim, a plaintiff must establish (1) that he possessed a liberty

interest and (2) that the defendant(s) deprived him of that interest as a result of insufficient

process.” Ortiz v. McBride, 380 F.3d 649, 654 (2d Cir.2004).

       A. PLAINTIFF POSSESSED A LIBERTY INTEREST TO NOT BE SUBJECTED TO ATYPICAL AND
       SIGNIFICANT HARDSHIP



       Plaintiff alleges the atypical and significant hardship he endured during his confinement

in the Great Meadow C.F. Segregated Housing Unit (“SHU”) in paragraphs 40-51 of the

complaint. He was punched numerous times in the stomach while being escorted to the SHU for

no legitimate penological purpose and was thrown into his SHU cell. The message was clear,

life in Great Meadow’s SHU was going to be a hell for him.

       Thereafter, for the 31 days he spent there, he was denied any phone calls to family or

anyone in the outside world. When his wife found out he was there, she called the facility. He

was threatened with bodily harm because his wife tried to find out about his welfare. He could

not write letters to anyone. He was denied paper and writing instruments. He could not grieve

or otherwise challenge his confinement. For 31 days he was held incommunicado, unable to

contact anyone outside the prison or to receive communications.

       Furthermore, he was denied the one hour per day of exercise and recreation outside of his

cell all SHU inmates are entitled to. And though he was permitted to shower every few days, the

conditions in the showers were filthy. In addition, he was permitted no change of clothes and no

personal items.

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Courts look to the duration of time an inmate is held in confinement, the severity of the

conditions and its “atypicality” from normal prison life to determine whether prong one of the

test is satisfied. Palmer v. Richards, 364 F.3d 60, 64 (2d Cir. 2004). For an inmate held for more

than 300 days in punitive housing, the plaintiff need not demonstrate any atypical hardship, only

that he was denied access to due process. Id. For between approximately 100 to 300 days, a

plaintiff needs to show that the conditions in excess of the standards set forth in Sealey v. Gitmer

197 F.3d 578 (2d Cir. 1999) to meet prong one. Palmer at 64. In Palmer, the plaintiff’s atypical

and significant hardship being claimed was as follows:

               The atypical and significant hardship this plaintiff suffered due to
               his wrongful confinement in S.H.U. was being deprived his
               property, [i.e.,] personal clothing, grooming equipment, hyg[i]enic
               products and materials, reading materials, writing materials, school
               books, personal food and vitamin supplements, family pictures as
               well as personal correspondences, being mechanically restrained
               whenever this plaintiff was escorted, and being out of
               communication from his family, were the hardships that this
               plaintiff suffered while in S.H.U. This affidavit, which has not
               been contradicted, raises genuine questions of material fact as to
               the conditions under which Palmer was confined and how those
               conditions compared to the conditions imposed on the general
               prison population.

Id.

       Clearly, the plaintiff suffered most of these, plus additional deprivations. Being restricted

from any exercise outside his cell or recreation for 31 days, being denied correspondence with

loved ones or lawyers, and being denied a change of clothing, in addition to the same

deprivations as the plaintiff in Palmer, clearly meets the requirements of prong one. Moreover,

plaintiff was assaulted with impunity upon being placed in these conditions. The psychological

fear and distress placed on plaintiff when he was assaulted as he was transported to the SHU, and

cut off from all communications or the ability to grieve can only be described as psychological



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torture.

           Moreover, these deprivations represent a marked negative departure from the already

severely restrictive conditions of the Great Meadow SHU. Moreover, denial of writing materials

and books are also atypical even for inmates being held in SHU. LaBounty v. Coombe, 2001

WL 1658245, at 5 (S.D.N.Y. 2001). In addition, the withholding of his personal items, and his

denial of other personal hygiene products represented an atypical incident of prison conditions

that entitled him to due process. Attached as Exhibit “A” is DOCCS Directive 4933. Section

302.1 of the directive lists the items that a SHU detainee is entitled to. The directive specifies

that a SHU detainee must have more than one set of clothing §302.1(a), writing materials

§302.1(d), and personal items including reading material §302.1(f), all of which was denied to

him the entire 31 days in SHU.

           Finally, plaintiff was denied access to at least one telephone call, which he was entitled to

under Directive 4933. Defendants cite to 7 NYCRR §301.7 to support their notion that DOCCS

may simply place an inmate in SHU for any reason and thus being placed in SHU entitles you to

no right to due process. Of course, that cannot be so. Tellingly, they ignore 7 NYCRR

§301.7(b) which states that a prisoner who enters SHU under §301.7(a) enter as a level II

“PIMS” prisoner and is entitled to certain privileges that others are not.1 In addition to the

enumerated personal items, a level II PIMS designation entitles a SHU detainee to one telephone

call. Plaintiff desperately wanted to place a phone call to speak to a loved one, tell her where he

was and explain what was happening. Such a contact with the outside world would have

certainly eased the extreme stress and mental anguish he was suffering, but he was denied even

this small freedom that he was entitled to under DOCCS’ own rules.


1
 The rules and regulations pertaining to segregated housing units that are cited above are included in DOCCS
Directive 4933, attached herewith at Exhibit “A”.

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       Defendants’ reliance on Green v. Central Office Review Committee, 2012 WL 1191596

is misplaced. They quote the court as follows: “Restrictions on telephone use, recreational

activities, access to law libraries, visitation, personal property, educational and employment

opportunities generally apply to all inmates confined to SHU regardless of the reason that they

have been placed there.” Def’t Memorandum of Law page 5. This parenthetical quote is pulled

from another case Carter v. Carriero, 905 F. Supp. 99, 104 (W.D.N.Y. 1995). In both cases, the

plaintiffs were claiming merely that the normal restrictions of SHU confinement were atypical

and posed a significant hardship. Here, plaintiff alleges that he was being held under conditions

that negatively departed from DOCCS own directive. Furthermore, each of the plaintiffs in the

cases cited by defendants were complaining of mere “restrictions” on telephone use, access to

law libraries and recreation. Plaintiff has pled the total deprivation of rights that the courts and

DOCCS itself through its rules confers on SHU inmates.

       The atypical and significant hardships plaintiff was forced to endure amount to a

deprivation of a liberty interest sufficient to satisfy prong one of the procedural due process test.

       B. PLAINTIFF WAS DEPRIVED OF HIS LIBERTY INTEREST DUE TO INSUFFICIENT PROCESS

       Defendants do not dispute that plaintiff did not have access to any legal due process

mechanism to challenge his confinement in SHU. Rather, they claim that an inmate can be put

in SHU “for any reason.” They seem to argue that if you are put in punitive housing as an

inmate because you commit some prison infraction such as fighting, you are entitled to due

process. But if you are arbitrarily placed in such housing for any other reason, (emphasis in

defendants’ memo of law) then you must endure it at the whim and pleasure of a deputy

commissioner. This clearly is not the case. “A prisoner has a liberty interest that is implicated

by SHU confinement if it imposes an atypical and significant hardship on the inmate in relation



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to the ordinary incidents of prison life.” Smith v. Hamilton, 2016 WL 3823395, at 3 (N.D.N.Y.

2016) quoting J.S. v. T'Kach, 714 F.3d 99 at 106 (2d Cir. 2013).

       Since plaintiff has plausibly pled that his SHU confinement was an atypical and

significant hardship and further that he received no due process, his due process rights were

violated. We respectfully submit that the motion to dismiss the claim must be denied.

                                             POINT II

     PLAINTIFF HAS PLED A PLAUSIBLE CLAIM FOR UNCONSTITUTIONAL
     CONDITIONS OF CONFINEMENT BECAUSE HE WAS DENIED EVEN THE
           MINIMAL CIVILIZED MEASURE OF LIFE’S NECESSITIES


       Plaintiff did not file this lawsuit to complain that he was uncomfortable at Great

Meadows C.F. He is fully aware, as defendants point out, that the constitution does not

“mandate comfortable prisons.” Def’t Memo of Law page 9. However, the Second Circuit has

made clear that the conditions of confinement may not “involve the wanton and unnecessary

infliction of pain.” Walker v. Schult, 717 F.3d 119, 125 (2d Cir. 2013).

       To state an Eighth Amendment claim based on conditions of confinement, an inmate

must allege that: (1) objectively, the deprivation the inmate suffered was “sufficiently serious

that he was denied the minimal civilized measure of life's necessities,” and (2) subjectively, the

defendant official acted with “a sufficiently culpable state of mind ..., such as deliberate

indifference to inmate health or safety.” Walker v. Schult, 717 F.3d 119, 125 (2d Cir. 2013).

       A. PLAINTIFF’S CLAIM MEETS THE OBJECTIVE STANDARD BECAUSE THE DEPRIVATION THE
           INMATE SUFFERED WAS SUFFICIENTLY SERIOUS THAT HE WAS DENIED THE MINIMAL
           CIVILIZED MEASURE OF LIFE’S NECESSITIES.



       In establishing a conditions of confinement claim, the plaintiff may rely on one particular

condition or a combination of conditions to show that they were sufficiently serious. A.T. by &



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through Tillman v. Harder, 298 F. Supp. 3d 391, 412–13 (N.D.N.Y. 2018) quoting Walker at

125. There is no ‘static test’ to determine whether a deprivation is sufficiently serious. Id. at

413. In A.T. by & through Tillman, the conditions generally caused psychological, not physical,

injuries. Id.

        Upon his arrival at the Great Meadow SHU, plaintiff was greeted with a beating by

guards. He was then thrown into his cell, suggesting his well-being meant little or nothing.

Indeed, they reinforced this by telling him that he’s not going to like what happens to him if his

wife calls the facility again. Compl. ¶41. Just before arriving, like other of his fellow honor

block inmates, he was beaten and tortured. Specifically, plaintiff was strangled by DOCCS

employees who showed no regard for his life. Compl. ¶¶32-34. It was impossible for DOCCS

employees not to know the basic details about the escape and the escapees. Clinton Honor Block

inmates were suspects, and they were vulnerable.

        It is in this context, that the denial of outside communications must be viewed in. He

could not write down what was happening to him. He could not send a letter. He could not make

or receive a phone call. He could not receive a visitor. The other deprivations suffered that were

in violation of DOCCS rules for inmates there for disciplinary reasons, the filthy shower, the

denial of personal belongings, the denial of a change of clothes and the restriction from even one

hour of recreation or exercise served to reinforce his reasonable perception that his life meant

nothing and that he was being held incommunicado so that they were free to treat him as

inhumanely as they wished.

        Defendants are correct that “prisoners enjoy no “absolute right to make telephone calls,

and prison regulations may reasonably restrict mail ... between inmates and outsiders.” Williams

v. Ramos, 2013 WL 7017674, at 4 (S.D.N.Y. 2013). But under these conditions, the restriction



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was far more serious to the safety and health of the plaintiff. Moreover, such [r]estrictions on

prisoner communications, like those regarding visitation, are valid if “reasonably related to

legitimate penological interests.” Id. citing Thornburgh v. Abbott, 490 U.S. 401, 409, 413

(1989).

          Defendants analyze each of the deprivations in isolation. But they amounted to an

aggregation of deprivations that must be contextualized; they did not occur in a vacuum. In

context, these deprivations were “sufficiently serious” to state a plausible conditions of

confinement claim. Furthermore, the fact that defendants have not put forward any purpose to

these deprivations that are reasonably related to legitimate penological interests, and such

purpose has not been tested in discovery to determine its “reasonableness” or whether it can be

disputed, dismissal on the pleadings would be inappropriate.

          For these reasons, we respectfully submit that plaintiff has plausibly pled the objective

prong for a conditions of confinement claim.

          B. DEFENDANTS MILLER, THOMS, EASTMAN AND SCARLOTTA BECAUSE THEY ARE
             REQUIRED BY DOCCS TO PERFORM WEEKLY INSPECTIONS OF THE SHU AND THUS
             KNEW OF THE DEPRIVATION OR RECKLESSLY DISREGARDED THEM BY DISREGARDING
             DOCCS DIRECTIVES.

          Defendants claim that plaintiff did not allege that the Moving Defendants knew of and

recklessly disregarded an excessive risk to health and safety. It is true that plaintiff did not use

those words, however, there is no “magic words” requirement for complaints. Plaintiff pled that

these defendants subjected him to repugnant conditions with “malicious intent, purposefulness

and/or deliberate indifference.” Compl. ¶¶69-73.

          Furthermore, the Complaint alleges that Sergeant Scarlotta was the person responsible for

supervision of the Great Meadow SHU during plaintiff’s custody there. Compl. ¶22. As a Unit

Supervisor of the SHU, he is required to be present in the SHU “at a minimum” when “inmates

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are admitted into the SHU”, “removed from a cell”, or when an inmate is escorted to activities.

DOCCS Directive 4933, Appendix, Section II(A) 1-4. (Attached as Exhibit A.) He obviously

would know of the conditions in which he and the other inmates were being confined, or

certainly should have known.

       Defendants Superintendent Miller, First Deputy Superintendent Thoms, and the Deputy

Superintendent for Security Rodney Eastman, as the three highest ranking employees at Great

Meadow CF, were members of the facility’s Executive Team. The Superintendent along with

each member of the Executive Team is obligated under DOCCS own Directive 4933 to visit the

Segregated Housing Unit (“SHU”) once per week. DOCCS Directive 4933, Appendix, Section

II(D) (attached as Exhibit A). Therefore, these defendants showed, at the very least, a reckless

disregard to plaintiff by either 1) complying with their obligations under this Directive and

simply ignoring the deplorable conditions that the Clinton Honor Block inmates were forced to

endure in the SHU, or 2) Disregarding their obligations under this Directive at such a critical

moment for DOCCS. In either case, to use the standard set forth by defendants, they were either

“subjectively aware of his actual conditions, knew of an excessive risk to his health or safety, or

consciously disregarded same.” Def’t Memo of Law page 11.

       Plaintiff’s allegations meet the objective and subjective standards required to state a

claim for unconstitutional conditions of confinement and thus we respectfully submit defendants’

motion must fail.




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                                            POINT III

   DEFENDANTS ARE LIABLE AS SUPERVISORS TO DEFENDANTS BECAUSE
  UNDER THE EXTRAORDINARY CIRCUMSTANCES OF THE ESCAPE AND THE
 ALLEGATIONS OF WIDESPREAD ALLEGATIONS OF SEVERE MISTREATMENT
IN THE AFTERMATH, THE SUPERVISORY DEFENDANTS WERE DELIBERATELY
              INDIFFERENT AND/OR GROSSLY NEGLIGENT


       Colon v. Coughlin, 58 F.3d 865 (2d Cir. 1995) is the law of this Circuit on Supervisory

Liability. It provides the five following bases on which supervisory liability may lie:


               (1) the defendant participated directly in the alleged constitutional
               violation, (2) the defendant, after being informed of the violation
               through a report or appeal, failed to remedy the wrong, (3) the
               defendant created a policy or custom under which unconstitutional
               practices occurred, or allowed the continuance of such a policy or
               custom, (4) the defendant was grossly negligent in supervising
               subordinates who committed the wrongful acts, or (5) the
               defendant exhibited deliberate indifference to the rights of inmates
               by failing to act on information indicating that unconstitutional
               acts were occurring.

Colon v. Coughlin, 58 F.3d 865, 873 (2d Cir. 1995).

       A. SUPERINTENDENT RACETTE, FIRST DEPUTY SUPERINTENDENT QUINN, AND DEPUTY
       SUPERINTENDENT FOR SECURITY BROWN ARE LIABLE.


               1. Defendant Racette

       In another case in which a Clinton Honor Block inmate was assaulted on June 6, 2015 by

strangulation, Judge Sannes of this court ruled: “Given the unusual circumstances following this

escape and the widespread allegations of beatings and similar conduct, the Complaint plausibly

alleges that Defendant Racette had reason to know of the violations and was grossly negligent or

deliberately indifferent in failing to prevent them.” Alexander v. Cuomo, 2018 WL 2041576, at

6 (N.D.N.Y., J. Sannes, 2018).




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       In a deposition taken on October 25, 2017, Superintendent Racette testified that from

June 6, 2015 on he continued to be responsible for inside Clinton C.F. He further said “part of

what I did is I walked – continued to make rounds. I walked every gallery. I looked at every

inmate. I asked them if they were okay. And I didn’t get a single complaint of assault in any of

those rounds.” Exhibit B 57:22 – 58:13.

       The title of superintendent of New York State correctional facilities is created by statute.

N.Y. Correct. Law § 18(2) provides that superintendents “…shall have the supervision and

management” of the correctional facility to which he is appointed. The law further provides that

“the superintendent of a correctional facility shall direct the work and define the duties of all

officers and subordinates of the facility.” N.Y. Correct. Law § 18(3). The superintendent is

appointed by the Commissioner. N.Y. Correct. Law § 18(1). Clearly, Clinton C.F. was the

responsibility of Superintendent Racette at the time of the escape and its aftermath. He was

statutorily required to supervise and manage the facility and direct the work of officers and

subordinates.

       The Complaint lays out the extraordinary nature of the escape and abuses that took place

immediately afterward. It alleges a course of conduct undertaken by Clinton officials and

circumstances that are so widespread in such a confined environment in such a short period of

time that it is simply impossible to claim a lack of knowledge for what was going on. See e.g.

Compl ¶¶ 6,7, 28-34, 79-87. The Complaint specifically alleges at ¶81 that literally “…dozens

of inmates were brutally interrogated, beaten and tortured by prison guards in an attempt at

retribution and cover up” after the escape, and cites to press reports and other complaints filed

related to the June 6, 2015 assaults to corroborate the claim.

       Superintendent Racette is free to deny that inmates were beaten. What plaintiff



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respectfully submits to the court is that he cannot successfully claim that if this pervasive and

systematic violence was occurring inside his prison at an extremely high profile time in the

history of Clinton C.F., he is not responsible.

       At the very least, based on the specific and plausible allegations made in the Complaint,

Racette is liable to plaintiff as a supervisor for being “grossly negligent” in supervising his

officers and subordinates at such an extraordinary time in the prison. Gross negligence “is the

kind of conduct where the defendant has reason to know of facts creating a high degree of risk of

harm to another and deliberately acts or fails to act in conscious disregard or indifference to that

risk.” Raspardo v. Carlone, 770 F.3d 97, 116 (2d Cir. 2014). See also Carpenter v. Apple, 2017

WL 3887908, at 11 (N.D.N.Y. 2017). Clearly here, Superintendent Racette had “reason to know

of facts”, to wit, the pervasiveness and scale of the alleged beatings and torture of dozens of

honor block inmates immediately after the high-profile escape. Indifference, if not conscious

disregard, can easily be deduced from the fact that this scope of brutality occurred and continued

without interruption from Superintendent Racette, whose duty it was to stop it. “A supervisor

can be held liable when he or she has actual or constructive notice of unconstitutional practices,

but similarly acted with gross negligence or deliberate indifference in failing to act.” Groves v.

Davis, 2014 WL 4684998, at 14 (N.D.N.Y., 2014).

       In addition, Colon’s third basis for supervisory liability, that Racette “created a policy or

custom under which unconstitutional practices occurred, or allowed the continuance of such a

policy or custom” also supports plaintiff’s claim of supervisory liability. Of course, the escape

itself was a unique event at Clinton C.F. The policy that emerged in response to the escape may

not have been a long-standing one due to the unlikely nature of the event, but it was a policy

nonetheless. Specifically, given the pervasiveness of the alleged brutality, the likelihood that



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honor block inmates who lived 24 hours a day in close proximity to the two honor block

escapees would have information about their whereabouts, the pressure to capture them, and the

fact the brutality occurred and continued to occur without supervisor interference, is indicative of

a policy to use brutality to extract information from the inmates with regard to the escape. It

may not have been a written policy, but it was in fact a policy that developed in quick response

to the escape and the need to capture the escapees. The prison was Racette’s statutory

responsibility. He at the very least allowed the unconstitutional policy of using excessive force

to extract information to occur and continue under his watch.

       2. Defendants Brown and Quinn

       Defendant Brown was the Deputy Superintendent of Security. Clinton Correctional

Facility, like most facilities in New York, has the Deputy Superintendents: One for security, one

for programs and one for administration. Clearly, by the title alone, defendant Brown’s primary

responsibility was for security at the prison. That was his job. Given the extraordinary

circumstances of the escape and its immediate aftermath, it is at least gross negligence and likely

deliberate indifference in failing to prevent the assaults.

       Defendant Quinn was the First Deputy Superintendent, the second in command of the

facility after Superintendent Racette himself. He too would have demonstrated gross negligence

or deliberate indifference to plaintiff’s safety if the allegations in the Complaint are proven true.

       Furthermore, it is noteworthy that the three supervisory officials that were suspended

later in the month because of the escape were Quinn, Brown and Racette, demonstrating that

state officials understand that they are responsible for security at the prison.




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       B. DEFENDANTS SUPERINTENDENT MILLER, FIRST DEPUTY SUPERINTENDENT THOMS,
       DEPUTY SUPERINTENDENT FOR SECURITY EASTMAN & SERGEANT SCARLOTTA ARE LIABLE


       As discussed in Point IB supra the conditions that were suffered by plaintiff were not

only obviously unconstitutionally inhumane, they negatively departed from the minimum

standards set by DOCCS Directive 4933. In addition, as stated in Point IIB supra each of these

defendants had obligations under DOCCS’ own directives to inspect the SHU at Great Meadow

while plaintiff was detained there to ensure compliance. By seeing the conditions alleged by

plaintiff at SHU which were inhumane and in violation of DOCCS rules and doing nothing, or

by disregarding DOCCS’ rules and not doing the required rounds of the SHU, these defendants

demonstrate deliberate indifference or gross negligence.

       “A plaintiff must establish three elements to prevail on a negligence claim: (1) the

existence of a duty on defendant's part as to plaintiff; (2) a breach of this duty; and (3) injury to

the plaintiff as a result thereof. To prevail on a gross negligence claim, plaintiff must establish

each of these three elements and offer evidence that the defendant's conduct evinces a reckless

disregard for the rights of others or ‘smacks' of intentional wrongdoing.” Pasternack v. Lab.

Corp. of Am., 892 F. Supp. 2d 540, 552 (S.D.N.Y. 2012). [Internal citations and quotations

omitted.] “To constitute gross negligence, the act or omission must be of an aggravated

character, as distinguished from the failure to exercise ordinary care.” Metro. W. Asset Mgmt.,

LLC v. Magnus Funding, Ltd., 2004 WL 1444868, at 9 (S.D.N.Y. 2004). Clearly here, these

defendants owed a duty to plaintiff as custodians of the prison tasked with the safety and security

of everyone inside. They breached the duty by visiting the SHU and ignoring the deplorable

conditions the Clinton inmates were kept in, or by simply not bothering to inspect. Clearly, such

indifferent supervision was a cause of plaintiff’s injury.



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       Furthermore, whether the conditions alleged in the complaint were known and ignored by

defendants Miller, Thoms, Eastman and Scarlotta, or they were unknown because they

disregarded their duties under Directive 4933, these defendants are liable at least for gross

negligence. Allegations of disregard of procedures are sufficient for a jury to conclude that a

defendant was grossly negligent. F.D.I.C. v. Loudermilk, 984 F. Supp. 2d 1354, 1362 (N.D. Ga.

2013), certified question answered sub nom. Fed. Deposit Ins. Corp. v. Loudermilk, 761 S.E.2d

332 (2014). Employees disregard for policies and procedures can support a finding of callous

disregard for the safety of inmates resulting in punitive damages being assessed. Woodward v.

Corr. Med. Servs. of Illinois, Inc., 368 F.3d 917, 930 (7th Cir. 2004).

   Plaintiff respectfully submits that if these defendants performed their required inspections

and did not remediate the conditions, they were deliberately indifferent and/or grossly negligent.

Furthermore, if the defendants did not actually know of the conditions in the SHU because they

disregarded their duties, a jury should decide whether such disregard of a directive – supervisors

tasked with the safety of inmates – would amount to gross negligence and hence personal

involvement on the part of these defendants.

       C. DEFENDANTS ACTING COMMISSIONER ANNUCCI AND DEPUTY COMMISSIONER
       BELLNIER ARE LIABLE.

       In a deposition taken October 25, 2017, Clinton Superintendent Racette stated that from

June 6, 2015 on, Acting Commissioner Annucci “took residence in my office” and that he “was

not making any decisions from the 6th on.” Exhibit B 57:11-16. Later, Racette was asked if he

was still in charge of the facility, to which he replied “[A]s much as you can be with the

Commissioner (Annucci), The Deputy Commissioner (Bellnier), and the Assistant

Commissioner sitting there beside you.” Exhibit B 59:12-16. Clearly, Annucci and Bellnier

were present in the facility while the alleged assaults were taking place and they were in charge.

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For the same reason Judge Sannes denied Racette’s motion to dismiss with respect to the assaults

occurring immediately after the escape, the motion should be denied as to Annucci and Bellnier.

Again, “[g]iven the unusual circumstances following this escape and the widespread allegations

of beatings and similar conduct, the Complaint plausibly alleges that Defendant Racette had

reason to know of the violations and was grossly negligent or deliberately indifferent in failing to

prevent them.” Alexander v. Cuomo, 2018 WL 2041576, at 6 (N.D.N.Y., J. Sannes, 2018).

        Anthony Annucci is the Acting Commissioner of DOCCS. As such, he is the “chief

executive officer” of the department. N.Y. Correct. Law § 5(2).              As discussed at length in the

complaint and herein, the escape was an extremely high profile event for DOCCS. On June 15,

2015, Governor Cuomo was quoted “capturing these killers and returning them to state custody

remains our top priority.”2 His words were echoed by Inspector General Katherine Leahy Scott,

who said: “Apprehension of the two fugitives from Clinton Correctional Facility is the highest

priority, and nothing will stand in the way of this primary mission.”3 As the CEO of DOCCS,

executing the “top priority” of his agency was tasked to Annucci. Defendant Joseph Bellnier

was his top deputy. Given the danger the fugitives posed to the general public, and the attention

the escape received, it cannot be doubted that Commissioner Annucci was overseeing the

investigation of the escape immediately thereafter. As stated above, he and Bellnier were

stationed at Clinton C.F. while the interrogation related assaults were occurring.

        As such, given the extraordinary circumstance surrounding the escape and his presence in

the facility leading the investigation, he knew, or should have known that excessive force was

being used on honor block inmates such as Mr. Zenon to extract information from them. He also

allowed the policy of using excessive force to find the fugitives to continue, and likely tacitly

2
  http://www.mynbc5.com/article/gov-cuomo-calls-for-state-investigation-of-escape-from-clinton-correctional-
facility/3324019
3
  Id.

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created the policy. Therefore, the allegations taken as true would result in a finding of liability

for failing to supervise under the third and fourth bases for liability under Colon and thus the

cause of action should not be dismissed against them.

                                          CONCLUSION

        New York’s Attorney General’s office continues to belittle the allegations made by

incarcerated people that they were systematically and brutally assaulted in the aftermath of the

escape from Clinton C.F. and that DOCCS employees attempted to cover up. At page 8 of

defendants’ Memorandum of Law, they sarcastically refer to plaintiff’s allegation of being kept

incommunicado for 31 days as an alleged “vast cover up scheme.” Of course, plaintiff did not

characterize the cover up as “vast” or a “scheme.”

        The Attorney General uses such language and characterization to make Mr. Zenon’s (and

allegations of other incarcerated persons who were abused after the escape) seem fabricated. Of

course, you need not take the word of offenders’ or plaintiff’s lawyers to know there were cover

ups. The New York State Inspector General, another state agency that the Attorney General is

obligated to defend, referred 39 Clinton employees to various agencies in connection with the

escape and their conduct during the investigation of the escape, mostly for “Official Misconduct”

and “False Filing”, both are crimes. Yet, of the 39, 35 remain on the payroll, and one passed

away.

        The Inspector General stated in its report on the investigation of the escape:

               “The Inspector General is compelled to note that this investigation
               was made more difficult by a lack of full cooperation on the part of
               a number of Clinton staff, including executive management,
               civilian employees, and uniformed officers. Notwithstanding the
               unprecedented granting of immunity from criminal prosecution for
               most uniformed officers, employees provided testimony under oath
               that was incomplete and at times not credible. Among other
               claims, they testified they could not recall such information as the

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                   names of colleagues with whom they regularly worked,
                   supervisors, or staff who had trained them. Several officers,
                   testifying under oath within several weeks of the event, claimed
                   not to remember their activities or observations on the night of the
                   escape. Other employees claimed ignorance of security lapses that
                   were longstanding and widely known.

                   The Inspector General finds these misstatements and purported
                   lapses of memory reprehensible. These actions may also violate
                   state ethics laws and, in the case of uniformed officers, a sworn
                   duty to uphold the law.”4

The Inspector General further pointed out in the report that they identified “a number of

employees who committed criminal acts…”, but none were prosecuted. 5

          In an investigation of alleged escape related assault of a Clinton inmate, Office of Special

Investigations Investigator Stephen Weishaupt told one of the original investigating sergeants

that his investigation “looked like a cover-up.” He also stated that another sergeant’s

investigation of the matter “defied logic”.

          Plaintiff has no interest in deciding whether this conduct documented by employees of

the State of New York constitutes “vast cover-up schemes” or not, but cover-ups do, clearly

occur. As opposed to derisive sarcasm, we would hope that the Attorney General’s office would

follow a path of just sifting through the fact or fiction of specific inmate allegations.




          For all the foregoing reasons, defendants’ motion to dismiss should be denied,


4
    https://ig.ny.gov/sites/default/files/pdfs/DOCCS%20Clinton%20Report%20FINAL_1.pdf at page 11.
5
    Id. at page 150.

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